Case 1:19-cv-24184-MGC Document 40 Entered on FLSD Docket 07/31/2020 Page 1 of 2




                         UN ITED STA TES D ISTRICT CO U R T
                         SO U THE RN D ISTR IC T O F FLO R ID A

       JA M E S BU CK M A N ,etal.,

       Plaintiff(s)                CA SE:19-CV-24184-COOKE /GO OD M EN

       V s.

       LA N CA STER M O R TG A G E CO .,eta1,.
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       Defendants(s)                                                    l!,1I
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                         M O T IO N FO R EX T EN SIO N O F T IM E

           C O M ES N ow PlaintiffsJam esB uckm an and M aurice Sym onette w ith
       M otion to extend the tim e to file second am ended com plaint,because 1
       w as checking on m y case 19-CV -24184 m yselfyesterday on the court
        system and found a letter from the courtdocketon the internetinform ing
        m e to m ake a second am ended com plaintdue to the situation ofthe court
        saying itw as notsuffciently w ritten outlhave no problem w ith thatits
       justthatldidnotrecieveanotitication in themailfrom thedistrictcourt
       onthatsubjectlfortunately discovered itonmy own1calledtheclerk
        abourtthis situation and they told m e that1could send Ia letter
        requesting m ore tim e since l did notgeta notice in the m ailplease grant
        m e m ore tim e because itisa lotto ofinform ation to puttogether thank
        you


                             lH ereby Certify thata true and corredtcopy ofthe
        foregoing w as sentby u.
                               sm ailto the foregoing on 7/31/2020 to D anielS.
        HurtesFl.BarNo.69104 Dl-lurtes@ blanltrome.comandNicoleR.Topper
Case 1:19-cv-24184-MGC Document 40 Entered on FLSD Docket 07/31/2020 Page 2 of 2




       Fla.B arN o.558591 to BLAN K R O M E LLP CO U SEL FO R
       D EFEN D A N T D EU TSCHE BAN K A T 500 E .BR O W A RD BLV D .
       STE.2100 FT.LA U D .FLA .33394 PH :954-512-1800.




       J M ES B U CK M     N
       15020-S.R IV ER D R .
       M IA M I,171-,A .33167
